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AO 472 (Rev. 09/08) Detention Order Pending Trial
                                                            5881

                                    UNITED STATES DISTRICT COURT
                                                                    for the
                                                 __________ DistrictofofArkansas
                                                   Western District      __________

                 United States of America                               )
                            v.                                          )
                                                                        )      Case No. 4:16-CR-40029 and 4:11-CR-40037-051
               DEADRICK LAMAR TATUM                                     )
                          Defendant                                     )

                                            DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
        of     G a federal offense        G a state or local offense that would have been a federal offense if federal
             jurisdiction had existed - that is
              G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                for which the prison term is 10 years or more.

              G an offense for which the maximum sentence is death or life imprisonment.
              G an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                            .*
              G a felony committed after the defendant had been convicted of two or more prior federal offenses
                described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

              G any felony that is not a crime of violence but involves:
                  G a minor victim
                  G the possession or use of a firearm or destructive device or any other dangerous weapon
                  G a failure to register under 18 U.S.C. § 2250
G (2)        The offense described in finding (1) was committed while the defendant was on release pending trial for a
             federal, state release or local offense.

G (3)        A period of less than five years has elapsed since the             G date of conviction          G the defendant’s release
             from prison for the offense described in finding (1).
G (4)        Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the safety
             of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                        Alternative Findings (A)
G (1)        There is probable cause to believe that the defendant has committed an offense
              G for which a maximum prison term of ten years or more is prescribed in 21 U.S.C. 801 et seq                            .
              G under 18 U.S.C. § 924(c).

        *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
        (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).                                          Page 1 of 2
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AO 472 (Rev. 09/08) Detention Order Pending Trial
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                                    UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Western District
                                                 __________ DistrictofofArkansas
                                                                         __________

G (2)      The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
           the defendant’s appearance and the safety of the community.

                                                        Alternative Findings (B)
G (1)       There is a serious risk that the defendant will not appear.
✔ (2)
G           There is a serious risk that the defendant will endanger the safety of another person or the community.

Defendant has demonstrated he will not follow the conditions of his current supervised release. I find he would not abide by any
condition or set of conditions I were to impose to assure the safety of other persons or the Community.


                                    Part II— Statement of the Reasons for Detention
        I find that the testimony and information submitted at the detention hearing establishes by                     ✔
                                                                                                                        G clear and
convincing evidence         G a preponderance of the evidence that

The weight of evidence against the Defendant in this case is very strong. Defendant was on supervised release at the time of the
commission of the instant offense. He previously violated the terms of his supervised release. He is charged with an offense involving
a fire arm. He has previous convictions for crimes of violence and controlled substance offenses. Defendant has previous convictions
for fleeing from police, which constitute a danger to the community. He has previous convictions for crimes of violence and controlled
substance offenses. His proffered residence if released is the same residence he has lived in the past several months while he was
NOT following the conditions of his supervised release. I also adopt the findings made from the bench at the conclusion of the hearing.




                                             Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.


Date:              12/06/2016                                                              /s/ Barry A. Bryant
                                                                                             Judge’s Signature

                                                           Hon. Barry A. Bryant, Chief U.S. Magistrate Judge
                                                                                              Name and Title




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        (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).                                          Page 2 of 2
